                   Case 1:09-cr-00349-AWI Document 64 Filed 06/11/10 Page 1 of 2


            1   JAMES R. HOMOLA #60244
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            4   Attorney for Defendant
                GARETH HYLLA
            5

            6

            7                IN THE UNITED STATES DISTRICT COURT FOR THE

            8                        EASTERN DISTRICT OF CALIFORNIA

            9

           10   UNITED STATES OF AMERICA           |
                                                   |
           11              Plaintiff,              |     Case No. 09-0349 OWW
                vs.                                |
           12                                      |     STIPULATION AND
                GARETH HYLLA                       |     ORDER TO CONTINUE
           13                                      |
                      Defendant.                   |
           14                                      |

           15         Defendant GARETH HYLLA by and through his attorney James R.

           16   Homola, and the united States of America, by and through its

           17   attorney, KEVIN A ROONEY, Assistant U.S. Attorney, hereby

           18   stipulate to the following joint request:

           19         That the sentencing hearing scheduled for June 14, 2010 be

           20   continued to July 26, 2010 at 9:00 am.         The continuance is

           21   requested to permit the parties to complete preparations for


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                   Case 1:09-cr-00349-AWI Document 64 Filed 06/11/10 Page 2 of 2
                sentencing.

            1   DATED: June 10, 2010

            2        /s/ James R. Homola                 /S/ Kevin A. Rooney
                     JAMES R. HOMOLA                     KEVIN A. ROONEY
            3        Attorney for Defendant              Assistant U.S. Attorney
                     GARETH HYLLA
            4

            5

            6                                      ORDER

            7   IT IS SO ORDERED.      The intervening period of delay is excused in

            8   the interests of justice, pursuant to 18 USC §3161(h)(8)(B)(iv).

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           10   IT IS SO ORDERED.

           11   Dated: June 10, 2010                   /s/ Oliver W. Wanger
                emm0d6                            UNITED STATES DISTRICT JUDGE
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